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 4
                         UNITED STATES DISTRICT COURT
 5
                       EASTERN DISTRICT OF WASHINGTON
 6
 7
     UNITED STATES OF AMERICA,                    No. 1:16-cr-02078-SAB-1
 8
                             Plaintiff,
 9
           v.
10
     DONALD JAMES ZYPH,
11
                             Defendant.           ORDER DISMISSING
12
                                                  INDICTMENT
13
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16         The Court held a hearing in this matter on May 10, 2017. The Government
17 was represented by Thomas Hanlon. Defendant Zyph was represented by Robin
18 Emmans. The Government orally moved to dismiss the Indictment charging
19 Defendant with three counts of Distribution of Methamphetamine in violation of
20 18 U.S.C. § 841(a)(1), (b)(1)(B)(viii). At the hearing, the Court granted the
21 Government’s motion to dismiss the Indictment.
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        ORDER DISMISSING INDICTMENT + 1
       Case 1:16-cr-02078-SAB     ECF No. 89    filed 05/10/17   PageID.183 Page 2 of 2



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           Accordingly, IT IS HEREBY ORDERED:
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           1. The Government’s oral motion to dismiss the Indictment is GRANTED.
 3
           2. The Indictment filed against Defendant Zyph, ECF No. 1, filed on
 4
     October 12, 2016, is DISMISSED.
 5
           IT IS SO ORDERED. The District Court Executive is hereby directed to
 6
     file this Order and provide copies to counsel.
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           DATED this10th day of May, 2017.
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                                                      Stanley A. Bastian
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                                                 United States District Judge
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       ORDER DISMISSING INDICTMENT + 2
